      Case 3:23-cv-02397-S
      Case 3:23-cv-02397-S Document
                           Document 30 Filed 10/30/23
                                    40 Filed 11/27/23                       Page
                                                                            Page 91 of
                                                                                    of 52        243
                                                                                          PagelD305
                                                                                       2 PageID

AO 440 (Rev. 12/09) Summons in a Civil Action


                             UNITED STATES DISTRICT COURT
                                                    for the
                                           Northern District of Texas

      FedEx Supply Chain Logistics &                   )
             Electronics Inc                           )
                     Plaintiff                         /
                        v.                             )     Civil Action No. 3:23-cv-02397-S
                                                       )
 __             Goodman et al__________                )
                     Defendant


                                      Summons in a Civil Action

TO: American Metals Recovery and Recycling Inc

also known as MBG Holdings Inc


A lawsuit has been filed against you.

      Within 21 days after service of this summons on you (not counting the day you received
it) — or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiffs attorney, whose name and address are:

      S. Carter
      6075 Poplar Avenue
      Suite 500
      Memphis, TN 38119

    If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.




                                                               CLERK OF COURT



DATE: 10/30/2023
                                                                Signature of Clerk or Deputy Clerk
                Case3:23-cv-02397-S
               Case  3:23-cv-02397-S Document  40 Filed
                                      Document30   Filed10/30/23   Page10
                                                         11/27/23 Page    of 252 PageID
                                                                        2 of             244
                                                                                  PagelD306
AO 440 (Rev. 12/09) Summons in a Civil Action iPage 2)

  Civil Action No. 3:23-cv-02397-S

                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))


         This summons for (name of individual and title, if any)
was received by me on (date)


           r I personally served the summons on the individual at (place)
                           ___________________________________________ on (date)                                                      ; or


           r I left the summons at the individual's residence or usual place of abode with (name)
                                                                           , a person of suitable age and discretion who resides there,
           on (date)                                                           , and mailed a copy to the individual's last known address; or


           [7-—I served the summons on (name of individual)                                                                 who is designated
          by law to accept service of process on behalf of (name of organization)
            AnIl^                                            on (date)                                      ; or


           r I returned the summons unexecuted because                                                                                  ; or


           F other (specify)




         My fees are $                                   for travel and $                       for services, for a total of $


           I declare under penalty of perjury that this information is true.


 Date:




                                                                                                  Printed name and title

                                                                            to WAA5T -5Te iD0Q -
                                                                                                     Server's address



 Additional information regarding attempted service, etc:
